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      4   Attorney for Defendant
          BRANDON SAVALOJA
      5
      6                              UNITED STATES DISTRICT COURT

      7                             EASTERN DISTRICT OF CALIFORNIA

      8
      9   UNITED STATES OF AMERICA                       ) Case No.: CR S-10-192-JAM
                                                         )
     10                   Plaintiff,                     ) STIPULATION AND ORDER SETTING
                                                         ) MODIFIED BRIEFING SCHEDULE TO
     11           vs.                                    ) ACCEPT LATE SENTENCING
                                                         ) MEMORANDUM
     12   BRANDO SAVALOJA,                               )
                                                         )
     13                   Defendant                      )
                                                         )
     14
     15           It is hereby stipulated and agreed to between the United States of America of America
     16   through Assistant United States Attorney Daniel S. McConkie , and the defendant, Brandon
     17   Savaloja by and through his counsel, Lindsay Anne Weston, that the Court accept defendant’s
     18   sentencing memorandum which was filed late on September 21, 2012, rather than September 18,
     19   2012. The parties request the sentencing date of October 2, 2012, at 9:30, remain the same and
     20   the date for reply or statement of non-opposition to the PSR, September 25, 2012, remain the
     21   same.
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     25   ////
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     27   ////
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      1           This request is made by the defense. Informal objections were timely filed but
      2   defendant’s sentencing memorandum took more time to draft than counsel anticipated. The
      3   defendant is in custody and the parties are prepared to proceed for sentencing on October 2,
      4   2012.
      5   Dated: September 25, 2012                    Respectfully submitted,
      6                                                /s/Lindsay Anne Weston
      7                                                _____________________
                                                       LINDSAY ANNE WESTON
      8                                                Attorney for Defendant
      9                                                BRANDON SAVALOJA

     10
          Dated: September 25, 2012                    BENJAMIN B. WAGNER
     11                                                United States Attorney
     12
                                                       /s/ Daniel S. McConkie by Lindsay Weston
     13                                                _ _____________________
                                                       DANIEL S. MCCONKIE
     14                                                Assistant United States Attorney
     15                                                Attorney for the Plaintiff

     16
                                                      ORDER
     17
     18           IT IS SO ORDERED.

     19
          Dated: 9/25/2012                             /s/ John A. Mendez____________
     20
                                                       JOHN A. MENDEZ
     21                                                United States District Court Judge

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